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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

*********************************** *
JOAN BAYE,                          *
                                    *
      Plaintiff,                    *            Civil Action No. 2:16-cv-13464
                                    *
      vs.                           *
                                    *
THE OAKES LAW FIRM, LLC,            *
                                    *
      Defendant.                    *
***********************************

                  ORDER OF DISMISSAL WITH PREJUDICE

       Pursuant to the stipulation of the parties, the case is dismissed with prejudice and

without fees or costs to any party.

       NEW ORLEANS, LOUISIANA, this ______
                                    17th day of October, 2016.




                                             ________________________________

                                             UNITED STATES DISTRICT JUDGE




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